                 Case 2:18-cr-00014-LGW-BWC Document 152 Filed 04/11/18 Page 1 of 3
AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                                       3     Pages


                                                                                                            KKUNSW^CK DIV.
                                        United States District Court                                                ,, p,, 2-. 36
                                                                      for the                            Lhr. ■
                                                     Southern District of Georgia                        CLERK
                                                                                                         so. d'ist. of
                    United States of America
                                   V.

                                                                                    Case No.        2:I8-cr-14
                       ANDREW JACKSON

                               Defendant


                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:                               United States District Court, Southern District of Georgia

                                        Federal Courthouse, 801 Gloucester Street, Brunswick, Georgia 31520

      on                                                               August 23, 2018
                                                                         Date and Time



      If blank, defendant will be notified of next appearance.

(5) The defendant must sign:

                   ( □ ) An Appearance Bond.

                     ( □ ) An Unsecured Bond in the amount of

                     ( S ) An Appearance Bond in the amount of                  S 25.000.00         which must be secured by a solvent surety

and secured by                 $ 1.250.00           , in cash deposited with the Court.

                     ( □ ) An Appearance Bond in the amount of                            , secured by     , in cash deposited with the Court.
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AO 199B (Rev. 12/11) Additional Conditions of Release                                                                                 ^
                                                                                                                                      Page 2 of 3 Pages
Andrew Jackson; 2;18-cr-14                                                                                                             ^                  ^
                                                  ADDITIONAL CONDITIONS OF RELEASE

       IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(□ )    (6)   The defendant is placed in the custody of:
              Person or organization
              Address (only ifabove is an organization)
              City and state                                                                                      Tel. No.
who agrees to (a) supervise the defendant, (b) use eveiy effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                           Signed:
                                                                                                      Custodian                                    Date

{ El) (7) The defendant must:
     (El) (a) submit to supervision by and report for supervision to the             SUPERVISING OFFICER AS DIRECTED
                   telephone number                               , no later than
       (El) (b) continue or actively seek employment.
       (Q ) (c) continue or start an education program.
       (13 ) (d) surrender any passport to:          SUPERVISING OFFICER
       (□) (e) not obtain a passport or other international travel document.
       (El) (f) abide by the following restrictions on personal association, residence, or travel: TRAVEL IS RESTRICTED TO THE SOUTHERN
                   DISTIRCT OF GEORGIA AND THE MIDDLE DISTRICT OF FLORIDA
       (El) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                including: CO-DEFENDANTS, UNLESS ARRANGED BY AND IN THE PRESENCE OF COUNSEL

       (CU ) (h) get medical or psychiatric treatment:

       (□) (i) return to custody each                        at             o'clock after being released at                  o'clock for employment, schooling,
                   or the following purposes:

       (CH ) 0) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                   necessary.
       (El) (k) not possess a firearm, destructive device, or other weapon.
       (Cl) (i) not use alcohol ( d ) at all ( □ ) excessively.
       (El) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                   medical practitioner.
       (13 ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                   random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                   prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
                   accuracy of prohibited substance screening or testing.
       (n ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                   supervising officer.
       (13 ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                   (13 ) (i) Curfew. You are restricted to your residence every day ( Q ) from                9:00 PM        to    5:00 AM , or ( CD ) as
                                directed by the pretrial services office or supervising officer; or
                   (□) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                             activities approved in advance by the pretrial services office or supervising officer; or
                 (D ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                             court appearances or other activities specifically approved by the court.
       (13 ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                   requirements and instructions provided.
                   (S ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                         supervising officer.
       (13 ) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                   arrests, questioning, or traffic stops.
       (El) (s) Defendant is permitted to travel to the Hilton Rose Hall Resort and Spa at Montego Bay, Jamaica from April 27,2018 through April 29,
                   2018. Private investigator Gerardo M. Rivera will accompany Defendant at all times during this time period of travel. The probation
                   office may return Defendant's passport in sufficient time to travel. Upon return to United States, Defendant shall surrender passport to
                   the probation office. Defendant's location monitoring equipment may be removed for purposes of this approved travel. The probation
                   office will immediately reinstall Defendant's location monitoring equipment upon his return to the United States.
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 AO 199C (Rev. 09/08) Advice of Penalties                                                                      Page   3   of    3     Pages

                                            ADVICE OF PENALTIES AND SANCTIONS

 TO THE DEFENDANT:


 YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:


        Violating any ofthe foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
 revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
 imprisonment, a fine, or both.
        While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
 and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
 consecutive {i.e., in addition to)to any other sentence you receive.
        It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
 tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
 attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
 intimidation are significantly more serious if they involve a killing or attempted killing.
         If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
 you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term offifteen years or more - you will be fmed
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years- you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
        A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
 addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

         I acknowledge that I am the defendant in this case and that 1 am aware of the conditions of release. I promise to obey all
 conditions of release, to appear as directed, and surrender to serve any sentence imposed. 1 am aware of the penalties and sanctions
 set forth above.




                                                                                         Defendant's Si^talure


                                                                                             City and State



                                                Directions to the United States Marshal

( PT) The defendant is ORDERED released after processing.
( n) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
     defendant has posted bond and/or complied with all other conditions for release. If still in gpstody, the defendant must be
          produced before the appropriate judge at the time and place specifig^^^^
 Date:
                                                                                       'udrdial Officer's Signature


                                                                        R. STAN BAKER,U.S. MAGISTRATE JUDGE




                     DISTRIBUTION:      COURT    DEFENDANT       PRETRIAL SERVICE       U.S. ATTORNEY          U.S. MARSHAL
